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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) CR. NO. S-99-433-WBS
                                     )
12                  Plaintiff,       ) GOVERNMENT’S REQUEST FOR
               v.                    ) ADDITIONAL TIME TO FILE ITS
13                                   ) OPPOSITION TO DEFENDANT JOHN THAT
                                     ) LUONG’S MOTION TO DISMISS RE:
14   JOHN THAT LUONG, et al.,        ) PINKERTON THEORY AND HOBBS ACT,
                                     ) AND MOTION TO DISMISS THE
15                 Defendants.       ) INDICTMENT
     _______________________________ )
16
17        The United States of America, through its counsels of record,
18   Benjamin B. Wagner, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, hereby submits this request for additional time to file
21   its opposition to defendant John That Luong’s motion to dismiss re:
22   Pinkerton Theory and Hobbs Act, and motion to dismiss the
23   indictment.
24        On December 3, 2009, this Court issued an order for the
25   government to file its opposition to defendant John That Luong’s
26   motion to dismiss the indictment (Ct. dkt. 1348) and motion to
27   dismiss re: Pinkerton Theory/Hobbs Act (Ct. dkt. 1353) on or before
28   December 21, 2009.

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 1           Counsel for the government respectfully requests additional
 2   time to December 31, 2009, to file its opposition to the aforesaid
 3   motions filed by the defendant John That Luong.           The reason for the
 4   additional time is that government counsel was ill and unable to
 5   work during most of the week of December 7 (counsel was out of the
 6   office December 8-11) and has not had sufficient time to adequately
 7   research and respond to the defendant’s motions.
 8           The defendant’s sentencing date is presently set for January
 9   19, 2010.     The government can have its opposition filed by December
10   31, 2009.     The defendant’s reply, if any, could be filed by January
11   8, 2010, and the hearing on the motions could be heard at the time
12   of sentencing on January 19, 2010.
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14                                               Respectfully submitted,
15                                               BENJAMIN B. WAGNER
                                                 United States Attorney
16
17   DATED: December 18, 2009              By: /s/ William S. Wong
                                               WILLIAM S. WONG
18                                             Assistant U.S. Attorney
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20                                         ORDER
21           For the foregoing reasons and good cause having been shown, the
22   government’s opposition are now due on December 31, 2009.             The
23   defendant’s reply, if any, is ordered to be filed on January 8,
24   2010.    The motions will then be taken under submission, unless the
25   court by separate order requests oral argument.
26   DATED:    December 20, 2009
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